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                10                      UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                11
                         SONOS, INC.,                             CASE NO. 2:20-cv-00169-JAK (DFMx)
                12
                                     Plaintiff,                   DEFENDANT’S NOTICE OF
                13                                                MOTION AND MOTION FOR
                               vs.                                LEAVE TO AMEND ANSWER AND
                14                                                COUNTERCLAIMS;
                         GOOGLE LLC,
                15                                                MEMORANDUM OF POINTS AND
                                     Defendant.                   AUTHORITIES IN SUPPORT
                16                                                THEREOF
                17
                                                                  Judge:           Hon. John A. Kronstadt
                18                                                Hearing Date:    June 2, 2025
                                                                  Hearing Time:    8:30 a.m.
                19                                                Courtroom:       10B
                20                                                Complaint Filed: Jan. 7, 2020
                                                                  Trial Date: None Set
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01980-00160/15833427.1                                                        Case No. 2:20-cv-00169-JAK (DFMx)
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                  1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                  2            PLEASE TAKE NOTICE that on June 2, 2025, at 8:30 a.m. or as soon
                  3 thereafter as the matter may be heard, in Courtroom 10B of the above entitled Court,
                  4 located at First Street Courthouse, 350 W. First Street, Courtroom 10B, Los Angeles,
                  5 CA 90012, before the Honorable John A. Kronstadt, Defendant Google LLC
                  6 (“Google”) will and hereby does move this Court, pursuant to Federal Rule of Civil
                  7 Procedure 15(a)(2), for an Order granting Google leave to file a First Amended
                  8 Answer and Counterclaims (“Motion”).
                  9            Specifically, Google seeks to amend its answer to add counterclaims addressing
                10 Plaintiff Sonos, Inc.’s (“Sonos”) infringement of two patents that allow for wireless
                11 set up of electronic devices: U.S. Patent Nos. 12,132,608 (“’608 patent”) and
                12 9,485,790 (“’790 patent”). Granting leave for this amendment would further the
                13 interests of judicial economy because these infringement counterclaims overlap with
                14 the technology and products relevant to Sonos’s own infringement claims. Moreover,
                15 none of the factors considered under the Rule 15 analysis militates against granting
                16 leave, as (1) Sonos will not suffer undue prejudice; (2) Google does not make the
                17 Motion in bad faith or with dilatory motives; (3) Google’s proposed amendments are
                18 not futile; (4) Google did not unduly delay in bringing these counterclaims; and (5)
                19 Google has not previously amended its pleadings.
                20             Counsel for Google and Sonos met and conferred regarding this Motion on
                21 April 25 and April 28, 2025. Sonos’s counsel has indicated that it opposes this
                22 Motion.
                23 DATED: May 5, 2025                       Respectfully submitted,
                24                                          QUINN EMANUEL URQUHART &
                                                            SULLIVAN, LLP
                25
                26                                          By /s/ James D. Judah
                27                                               JAMES D. JUDAH (SBN 257112)
                                                                 Attorney for Defendant Google LLC
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             1                  MEMORANDUM OF POINTS AND AUTHORITIES
             2 I.        INTRODUCTION
             3           Google respectfully moves for leave to amend its Answer to add two
             4 counterclaims for infringement of Google’s U.S. Patent Nos. 12,132,608 (the “’608
             5 patent”) and 9,485,790 (the “’790 patent”).1 These two patents cover wireless device
             6 connection technology that significantly overlaps with two of Sonos’s asserted patents
             7 – with similar specifications, accused technology, and relevant products (i.e.,
             8 Google’s practicing products for the proposed counterclaim patents are the same as
             9 those accused of infringement by Sonos’s patents, and similarly the Sonos products
           10 that Sonos identifies as practicing its patents are the same products that Google
           11 accuses of infringing the counterclaim patents). Accordingly, judicial economy and
           12 the federal policy to grant leave under Federal Rule of Civil Procedure 15 with
           13 ”extreme liberality,” Eminence Cap., LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th
           14 Cir. 2003), both favor granting leave to add these counterclaim patents to this action.
           15            Similarly, all five of the factors relevant to the Rule 15(a) analysis weigh in
           16 favor of permitting the amendments. First, Google’s proposed amendments will not
           17 unduly prejudice Sonos as the case is still in its early stages, with eight months
           18 remaining before discovery closes and no trial date set. See Dkt. 77. Second, Google
           19 brings this Motion in good faith, seeking only to add legitimate patent infringement
           20 claims that significantly overlap with Sonos’s own claims, and not for any dilatory or
           21 improper purpose.          Third, the amendments are not futile as they state viable
           22 infringement claims of valid patents well-supported by evidence. Fourth, there is no
           23 undue delay since Google brings this Motion by the May 5, 2025 deadline to amend
           24
           25
                 1
                         Pursuant to Rule 13 of the Initial Standing Order for Civil Cases Assigned to Judge
                26 John A. Kronstadt, attached hereto as Appendix A is a copy of Google’s Proposed
                27 First Amended Answer and Counterclaims, and attached hereto as Appendix B is a
                       redline version of Google’s Proposed First Amended Answer and Counterclaims
                28 showing all additions and deletions of material from the most recent prior pleading.
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            1 and only after completing necessary diligent review of the patents and counterclaims
            2 at issue. Google’s proposed amendments come just over four months after filing its
            3 Answer to Sonos’s Second Amended Complaint, in which Sonos itself added one of
            4 the wireless device connectivity patents at issue. See Dkt. 69; Dkt. 68. Fifth, Google
            5 has not previously amended its Answer, making this its first request to amend.
            6           For these reasons, and as discussed in greater detail below, Google respectfully
            7 requests that the Court grants Google’s Motion for Leave to Amend its Answer and
            8 Counterclaims.
            9 II.       BACKGROUND
           10           Sonos’s Setup Patent Claims.        On January 7, 2020, Sonos filed two
           11 complaints against Google, one in this Court and another in the International Trade
           12 Commission, asserting infringement of five patents including U.S. Patent No.
           13 10,439,896 (the “’896 patent”).          The ’896 patent is entitled “Playback Device
           14 Connection” and, according to Sonos’s Complaint, covers technology for “how to set
           15 up a playback device on a wireless local area network.” Dkt. 1 at ¶¶ 1, 120-136.
           16 Consistent with 28 U.S.C. § 1659(a), the Court granted an unopposed motion to stay
           17 this action “until the determination of the Commission becomes final.” Dkt. 26;
           18 Dkt. 30.
           19           On September 30, 2024, the Court partially lifted the stay in this action. Dkt. 63.
           20 On October 15, 2024, Sonos filed a First Amended Complaint, which added three
           21 patents to its infringement claims. Dkt. 64. Two of those new patents were issued prior
           22 to the filing of the original Complaint, in 2009 and 2018, respectively.2 On November
           23 18, 2024, the parties jointly moved to lift the stay in its entirety, and that motion was
           24 granted the same day. Dkt. 65; Dkt. 66.
           25           On November 26, 2024, Sonos filed a Second Amended Complaint, which added
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                       U.S. Patent No. 7,571,014 issued on August 4, 2009. Dkt. 64, ¶ 94. U.S. Patent
                28 No. 10,031,715 issued on July 24, 2018. Id., ¶ 162.
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             1 two more patents to its infringement claims, including U.S. Patent No. 10,541,883 (the
             2 “’883 patent”; together with the ’896 patent the “Sonos Setup Patents”). Dkt. 68. The
             3 ’883 patent is also entitled “Playback Device Connection” and also claims priority to
             4 the same June 5, 2004 provisional application as the ’896 patent.3 Id. at ¶¶ 233-244.
             5 In the Second Amended Complaint, Sonos alleges that both of the Sonos Setup Patents
             6 cover technology for “how to set up a playback device on a wireless local area
             7 network.” Dkt. 68 at ¶¶ 2, 187-204, 233-244.
             8           On December 23, 2024, Google filed its Answer to the Second Amended
             9 Complaint. Dkt. 69. Google denied infringement of any of Sonos’s asserted patents,
           10 including the Sonos Setup Patents, as well as Sonos’s allegations of willful
           11 infringement. Id. at 8-9, 62.
           12            On February 10, 2025, Sonos served its Disclosure of Asserted Claims and
           13 Infringement Contentions. Ex. 1 [Disclosure of Asserted Claims and Infringement
           14 Contentions]. In its Identification of Accused Instrumentalities, Sonos identified so-
           15 called “Cast-enabled media players” – defined to include Google’s Chromecast,
           16 Chromecast Ultra, Chromecast Audio, Chromecast with Google TV, Google TV
           17 Streamer (4K), Pixel Tablet with the Charging Speaker Dock, Home Mini, Nest Mini,
           18 Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi
           19 Point – as allegedly infringing products for the ’883 patent (and as the “playback
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                 3
                          Significantly, the applications that led to both the ’896 patent and the ’883 patent
                22 were not filed until 2019 – roughly 15 years after the claimed 2004 provisional
                23 application, and also several years after Google commercially released the allegedly
                       infringing products. Compare with Sonos, Inc. v. Google LLC, No. C 20-06754
                24 WHA, 2023 WL 6542320, at *1 (N.D. Cal. Oct. 6, 2023) (finding Sonos’s patents
                25 unenforceable under the doctrine of prosecution laches and holding that “[t]he essence
                       of this order is that the patents issued after an unreasonable, inexcusable, and
                26 prejudicial delay of over thirteen years by the patent holder, Sonos, Inc. Sonos filed
                27 the provisional application from which the patents in suit claim priority in 2006, but
                       it did not file the applications for these patents and present the asserted claims for
                28 examination until 2019.”) (emphasis in original).
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           1 device” recited in the claims for the ’896 patent). Id. at 2-3, 7-8; Ex. 2 [Ex. G to Initial
           2 Infringement Contentions]. And in its Identification of Practicing Instrumentalities,
           3 Sonos identified the Sonos One, One SL, Roam, Move, Five, Beam, Ray, Arc, Era
           4 100, Era 300, Sub, Sub Mini, and Port as allegedly practicing products for the ’883
           5 patent (and presumably as the “playback device” recited in the claims for the ’896
           6 patent). Ex. 1 at 60-62.
           7         On April 30, 2025, Sonos served a “Corrected” Disclosure of Asserted Claims
           8 and Infringement Contentions. Ex. 3 [Corrected Disclosure of Asserted Claims and
           9 Infringement Contentions]. The updated disclosure changed the asserted priority
          10 dates for three of the patents-in-suit by approximately eight months each. Compare
          11 Id. at 60 with Ex. 1 at 60. Sonos’s identification of accused and practicing
          12 instrumentalities is unchanged. Ex. 3 at 60-62.
          13         Google’s Setup Patent Counterclaims. On October 29, 2024 – between Sonos’s
          14 filing of the First and Second Amended Complaints – the USPTO issued U.S. Patent
          15 No. 12,132,608 (the “’608 patent”), entitled “Apparatus and Method for Seamless
          16 Commissioning of Wireless Devices.” Ex. 4 [’608 patent] at 1. The ’608 patent
          17 shares a specification with Google’s U.S. Patent No. 9,485,790 (the “’790 patent”;
          18 together with the ’608 patent the “Google Setup Patents”), which is also entitled
          19 “Apparatus and Method for Seamless Commissioning of Wireless Devices.” Id. at 2
          20 and 12. Sonos’s ’896 patent was cited as a prior art reference during the examination
          21 of the ’608 patent. Id. at 2 (identifying “10,439,896 B2 10/2019 Millington et al”
          22 under “References Cited”).
          23         As explained in Google’s Disclosure of Asserted Claims and Infringement
          24 Contentions, Google’s own products practice the Google Setup Patents, including
          25 each of the so-called “Cast-enabled media players” (e.g., Google’s Chromecast,
          26 Chromecast Ultra, Chromecast Audio, Chromecast with Google TV, Google TV
          27 Streamer (4K), Pixel Tablet with the Charging Speaker Dock, Home Mini, Nest Mini,
                28 Home, Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi
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            1 Point) accused by Sonos in its ’883 patent infringement contentions. Ex. 5 at 15-16.
            2 Moreover, at least the Sonos One, One SL, Roam, Move, Five, Beam, Ray, Arc, Era
            3 100, Era 300, Sub, Sub Mini, and Port are all infringing instrumentalities for the
            4 Google Setup Patents, id. at 3-4, which is the same set of products that Sonos
            5 identified as practicing the ’883 Sonos Setup Patent.
            6         A family member of the Google Setup Patents, U.S. Patent No. 11,050,615 (the
            7 “’615 patent”), has been previously asserted in district court and ITC actions against
            8 Sonos, specifically Google LLC v. Sonos, Inc., Case No. 5:22-cv-04553 (N.D. Cal.)
            9 and Certain Audio Players and Components Thereof (II), Investigation No. 337-TA-
          10 1330. The ’615 patent has also been the subject of an inter partes review proceeding
          11 brought by Sonos, No. IPR2023-00806.               The ITC action resulted in a Final
          12 Determination finding no violation of Section 337.              The Northern District of
          13 California action is currently stayed pending the outcome of the IPR proceedings.
          14 The IPR proceeding resulted in a Final Written Decision that claims 1-3, 5, 9-12, and
          15 15-18 are unpatentable, and that claims 6-8 and 19 are not unpatentable. Sonos, Inc.
          16 v. Google LLC, No. IPR2023-00806, 2024 WL 4648645, at *1 (P.T.A.B. Nov. 1,
          17 2024). Sonos appealed the PTAB’s determination that claims 6-8 and 19 are not
          18 unpatentable to the Federal Circuit, and that appeal remains pending. Sonos, Inc. v
          19 Google LLC, Case No. 25-1338 (Fed. Cir. filed Jan. 2, 2025). In the ITC proceeding,
          20 Sonos asserted the ’896 patent (and the Sonos Setup Patent family generally) as
          21 allegedly invalidating prior art for the ’615 patent.
          22       The Court’s Scheduling Order and Google’s Motion for Leave. On March 11,
          23 2025, the Court entered the Order Setting Pretrial Deadlines. Dkt. 77. The Court set
          24 May 5, 2025 as the “[l]ast day to amend or add parties,” July 28, 2025 for the
          25 Markman Hearing, January 12, 2026 as the Discovery Cut-Off, and February 9, 2026
          26 as the “[l]ast day to file motions (including discovery motions).” Id. at 1-2. There is
                27 no trial date set.
                28        On March 21, 2025, Sonos served its First Set of Requests for Production,
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            1 (containing three documents requests). On the same day, Google served its First Set
            2 of Requests for Production and First Set of Interrogatories. On April 16, 2025, Sonos
            3 served its Second Set of Requests for Production and First Set of Interrogatories.
            4 Google’s objections and responses to those requests and interrogatories are due May
            5 16, 2025.
            6           On April 1, 2025, Google sent Sonos a draft proposed Stipulated Protective
            7 Order. The parties are currently negotiating its terms, and to date, no Protective Order
            8 has been entered. Accordingly, no confidential documents have been produced or
            9 made available for inspection by either side.
           10           On April 25, 2025, Google sent Sonos its proposed Amended Answer and
           11 Counterclaims, and after meeting and conferring Sonos did not agree to stipulate to
           12 Google’s proposed amendment. On May 5, 2025, Google served its Standing Patent
           13 Rule 2.1 Disclosure of Asserted Claims and Infringement Contentions.
           14 III.      LEGAL STANDARD
           15           Pursuant to Federal Rule of Civil Procedure 15(a), a party may amend its
           16 pleadings with the court’s leave.4 “The court should freely give leave when justice so
           17 requires.” Fed. R. Civ. P. 15(a)(2). In light of the federal policy favoring the
           18 determination of cases on their merits, the policy of granting leave is to be applied
           19 with “extreme liberality.” Eminence Cap., 316 F.3d at 1051. One of the purposes of
           20 Rule 15(a) is to promote judicial efficiency and avoid duplication of discovery and
           21 other burdens imposed upon the court and parties by the filing of separate lawsuits.
           22 See, e.g., Regents of the Univ. of Cal. v. IKEA of Sweden AB, No.
           23
           24
                4
           25              Because Google is bringing this Motion on or before the deadline to amend
                       pleadings, Federal Rule of Civil Procedure 15 applies. See, e.g., Henderson v. Union
                26 Station Hous. Servs., No. CV200476PSGMRWX, 2020 WL 8413520, at *1 (C.D.
                27 Cal. Dec. 28, 2020) (applying Rule 15 to motion to amend pleadings filed before
                       deadline in the “scheduling order[] setting November 30 as the last day to add parties
                28 and amend pleadings.”).
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                  1 CV196573PSGRAOX, 2020 WL 7379381, at *2-3 (C.D. Cal. Oct. 20, 2020).
                  2           In evaluating whether leave to amend should be denied, the Ninth Circuit
                  3 considers five factors: (1) “bad faith,” (2) “undue delay,” (3) “prejudice to the
                  4 opposing party,” (4) “futility of amendment,” and (5) “whether the [movant] has
                  5 previously amended [its pleadings].” See, e.g., DCD Programs, Ltd. v. Leighton, 833
                  6 F.2d 183, 186 and n. 3 (9th Cir. 1987); see also Caravan Canopy Int’l Inc. v. Int’l E-
                  7 Z Up, Inc., No. ED CV23-00319 JAK (MRWX), 2024 WL 1118994, at *2 (C.D. Cal.
                  8 Feb. 15, 2024) (Kronstadt, J.). “[I]t is the consideration of prejudice to the opposing
                  9 party that carries the greatest weight.” Eminence Cap., 316 F.3d at 1052.
                10            “Absent prejudice, or a strong showing of any of the remaining [] factors, there
                11 exists a presumption under Rule 15(a) in favor of granting leave to amend.” Id.
                12 (emphasis in original); see also Griggs v. Pace Am. Grp., Inc., 170 F.3d 877, 880 (9th
                13 Cir. 1999) (“Generally, this determination should be performed with all inferences in
                14 favor of granting the motion.”).
                15 IV.        ARGUMENT
                16            Google’s Motion for Leave should be granted. As explained further below,
                17 each of the Ninth Circuit’s factors relevant to the Rule 15(a) analysis weigh in favor
                18 of granting leave to amend. Google’s proposed amendment would add counterclaims
                19 that substantially overlap with, and indeed, mirror Sonos’s claims, as summarized in
                20 the below chart:
                21
                            Issue         Sonos ’883 Setup Patent             Google ’608 Setup Patent
                22                     “The functions also include         “The electronic device sends the
                                       receiving … network                 network configuration data to
                23                     configuration parameters for the    the target device and receives
                24       Specification secure WLAN” and “using the         confirmation that the target
                                       network configuration               device has successfully
                                       parameters to connect to the        connected to the communication
                25                     secure WLAN[.]” (Abstract)          network.” (Abstract)
                26                      Sonos One, One SL, Move,           Sonos One, One SL, Move,
                         Relevant       Roam, Five, Arc, Beam, Ray,        Roam, Five, Arc, Beam, Ray,
                27       Sonos          Era 100, Era 300, Sub, Sub         Era 100, Era 300, Sub, Sub
                         Products       Mini, and Port                     Mini, and Port
                28
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            1        Issue          Sonos ’883 Setup Patent               Google ’608 Setup Patent
            2                    Google’s Chromecast,                  Google’s Chromecast,
                                 Chromecast Ultra, Chromecast          Chromecast Ultra, Chromecast
            3                    Audio, Chromecast with Google         Audio, Chromecast with Google
                 Relevant        TV, Google TV Streamer (4K),          TV, Google TV Streamer (4K),
            4    Google          Pixel Tablet with the Charging        Pixel Tablet with the Charging
                 Products        Speaker Dock, Home Mini, Nest         Speaker Dock, Home Mini, Nest
            5                    Mini, Home, Home Max, Home            Mini, Home, Home Max, Home
                                 Hub, Nest Hub, Nest Hub Max,          Hub, Nest Hub, Nest Hub Max,
            6                    Nest Audio, and Nest Wifi Point       Nest Audio, and Nest Wifi Point
            7    Asserted        Google Setup Patents                  Sonos Setup Patents
            8    Prior Art

            9          Google’s counterclaims are for patent infringement, just like Sonos’s claims.
           10 The subject matter of the Google Setup Patents substantially overlaps with the subject
           11 matter of the Sonos Setup Patents. The relevant products are the same for both
           12 Google’s counterclaims and Sonos’s claims – i.e., the products that practice the
           13 Google Setup Patents are the same products accused of infringing the Sonos Setup
           14 Patents, and the products that infringe the Google Setup Patents are the same products
           15 that allegedly practice the Sonos Setup Patents.              Accordingly, discovery will
           16 substantially overlap across each set of claims. There is also overlap across defenses,
           17 as Google’s practicing of its Google Setup Patents is relevant to rebut Sonos’s
           18 allegations of willfulness and copying, as well as to damages. See, e.g., Medtronic,
           19 Inc. v. Axonics Modulation Techs., Inc., No. 8:19-CV-02115-DOC-JDE, 2024 WL
           20 3550482, at *2 (C.D. Cal. July 18, 2024). Further Google anticipates that Sonos will
           21 assert at least the ’896 patent as prior art to the Google Setup Patents (as it was
           22 identified as a cited reference by the examiner during prosecution of the ’608 patent).
           23 At the same time, as Google will show, the Sonos Setup Patents are not entitled to
           24 their claimed priority date and are instead invalid in light of the Google Setup Patent
           25 family. Ex. 6 [Google First Amended Invalidity Contentions] at 59, 67. Accordingly,
           26 judicial efficiency strongly favors granting leave to add these counterclaims to this
                27 action rather than requiring Google to file a new action, going through a separate
                28 discovery process, and then forcing a jury to sit through a separate trial. See, e.g.,
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            1 Pavemetrics Sys., Inc. v. Tetra Tech, Inc., No. 2:21-cv-01289-MCS-MAA, 2021 WL
            2 4776361, at *4 (C.D. Cal. Aug. 23, 2021) (granting defendant’s motion to add
            3 counterclaim for patent infringement “particularly given the overlap in specifications,
            4 claim terms, and accused technology”); see also Ziptronix, Inc. v. Omnivision Techs.,
            5 Inc., No. C 10-05525 SBA, 2012 WL 3155554, at *5 (N.D. Cal. Aug. 2, 2012)
            6 (allowing amendment to “add three patents to [the] lawsuit that are related to the
            7 patents already at issue in [the] case will serve the foregoing [judicial economy]
            8 interests articulated by the Ninth Circuit”).
            9          A.     Google’s Proposed Amendments Will Not Unduly Prejudice Sonos
          10          “‘Undue prejudice’ means substantial prejudice or substantial negative effect;
          11 the Ninth Circuit has found such substantial prejudice where the claims sought to be
          12 added ‘would have greatly altered the nature of the litigation and would have required
          13 defendants to have undertaken, at a late hour, an entirely new course of defense.’”
          14 Hip Hop Beverage Corp. v. RIC Representcoes Importacao e Comercio Ltda., 220
          15 F.R.D. 614, 622 (C.D. Cal. 2003) (quoting Morongo Band of Mission Indians v. Rose,
          16 893 F.2d 1074, 1079 (9th Cir. 1990). No such undue prejudice will result here.
          17          First, the addition of Google’s proposed counterclaims will not meaningfully
          18 alter the nature or scope of this litigation because Google’s Setup Patents are directed
          19 to the same technology as the Sonos Setup Patents. This strongly weighs against any
          20 finding of undue prejudice. See Pavemetrics, 2021 WL 4776361, at *4 (overlap in
          21 accused technologies supported finding of no undue prejudice); see also Kelly v.
          22 Fashion Nova, Inc., No. LA CV23-02360 JAK (RAOx), 2023 WL 9019067, at *6
          23 (C.D. Cal. Sept. 7, 2023) (granting leave to add trademark infringement claim that
          24 overlapped with existing Lanham Act claim). Nor will the addition of the Google
          25 Setup Patents implicate discovery into products beyond those which are already at
          26 issue in this case. As explained above, the accused and practicing products for each
          27 set of patents are the same. See Section IV supra. Finally, even defenses overlap
                28 across Sonos’s claims and Google’s proposed counterclaims. Google’s Setup Patents
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            1 are already relevant to Sonos’s willfulness and copying allegations. Further, the
            2 Sonos Setup Patent family was cited by the examiner as prior art during the
            3 prosecution of the ’608 patent, and Google is asserting the Google Setup Patent family
            4 as prior art to the Sonos Setup Patents. Google’s Setup Patents are also relevant to
            5 damages. All of this overlap undercuts any potential arguments regarding prejudice
            6 from the amendment.
            7         Second, this case is still in its early stages. The parties are currently negotiating
            8 a Protective Order. The parties only recently responded to initial sets of discovery,
            9 and Sonos did not serve the vast majority of its document requests, or any
          10 interrogatories, until nineteen days ago. Sonos’s served “corrected” Infringement
          11 Contentions on April 30, 2025 (just five days before Google served its own
          12 Infringement Contentions for the Google Setup Patents). Discovery does not close
          13 for another eight months, and no trial date has been set. See Dkt. 77 at 2. Sonos will
          14 thus have adequate time to investigate Google’s proposed counterclaims and develop
          15 its defenses – particularly because, as explained above, much of the relevant analysis
          16 (such as the setup functionality of the relevant Sonos and Google products) is already
          17 occurring anyway in connection with Sonos’s existing infringement allegations. MR
          18 Techs., GMBH v. Western Digital Techs., Inc., No. 8:22-cv-1599-JVS-DFM, 2024
          19 WL 4150723, at *4 (C.D. Cal. Jan. 18, 2024) (finding no prejudice “where the facts
          20 show that the timeline of the case has not so progressed to the point when [non-
          21 moving party] could not reasonably investigate the amended [pleading]”) (citation
          22 omitted); see also Aten Int’l Co., Ltd. v. Emine Tech. Co., Ltd., No. SACV 09-0843
          23 AG (MLGx), 2010 WL 1462110, at *4 (C.D. Cal. Apr. 12, 2010) (no prejudice from
          24 new counterclaim where discovery did not close for another seven months); Caravan
          25 Canopy, 2024 WL 1118994, at *4 (no prejudice from new counterclaim where
          26 discovery did not close for another three months and no trial date had been set);
          27 Henderson, 2020 WL 8413520, at *3 (no prejudice where “discovery cut-offs [were]
                28 more than four months away and trial [was] more than seven months away”). Nor is
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             1 Sonos entirely unfamiliar with the Google Setup Patent family, as it has litigated the
             2 related ’615 patent at the ITC and in an IPR proceeding, and while the claims of that
             3 patent are different from the claims of the counterclaim Google Setup Patents, there
             4 is some overlap across certain issues, such as validity (and Sonos’s likely assertion
             5 that the Sonos Setup Patents constitute prior art).
             6           Moreover, while granting leave to add Google’s counterclaims would likely
             7 require a modification of the Court’s Markman deadlines, such as moving the
             8 Markman hearing back by two months from July to September, Google has already
             9 served its S.P.R. 2.1 infringement contentions, so any necessary adjustments to the
           10 existing case schedule would be limited, not affect the trial date (which has not yet
           11 been set), and accordingly not result in any undue prejudice to Sonos (who served
           12 “corrected” infringement contentions just last week).5 See, e.g., Pavemetrics, 2021
           13 WL 4776361, at *4 (granting motion for leave and finding no undue prejudice; noting
           14 that “[a]lthough Tetra Tech’s amendment may affect the parties’ claim construction
           15 deadlines, that is common when a party seeks to add a new patent to a case.”). Any
           16 such adjustment to pretrial deadlines cannot constitute undue prejudice where, as here,
           17 it will not require moving the trial date (which has not yet been set) and thus eventual
           18 disposal of Sonos’s claims on the merits. And even if the eventual trial date were
           19
           20    5
                          Google does not seek at this time to modify the Court’s Pretrial Scheduling Order,
                21 but to the extent granting Google’s amendment requires a modest modification of the
                       case schedule, good cause exists to do so. See, e.g., Pavemetrics, 2021 WL 4776361,
                22 at *3 (“The Court agrees with Tetra Tech that the ‘good cause’ standard does not
                23 apply, as Tetra Tech moved to amend its pleadings before the deadline to do so. Tetra
                       Tech currently does not and cannot move to amend its infringement contentions or its
                24 claim construction positions to address the ’557 Patent because that patent is not yet
                25 part of the case. Thus, Rule 16 and the ‘good cause’ standard to amend infringement
                       contentions are not yet implicated. Although Tetra Tech will inevitably have to
                26 amend its infringement contentions to include the ’557 Patent, Tetra Tech would have
                27 ‘good cause’ to do so given the Court’s order granting its motion to amend its
                       pleadings, so long as Tetra Tech amends its contentions diligently following the
                28 Court’s order.”).
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            1 moved by a month or two, Sonos cannot complain after it elected to prioritize the ITC
            2 action over this litigation, resulting in four years of delay – and further waited until
            3 after the stay was lifted to add five new patents to the litigation (some of which could
            4 have been brought when Sonos first filed the case in 2020). Moreover, because the
            5 majority of Sonos’s asserted patents have expired, any delay cannot, as a matter of
            6 law, result in prejudice – let alone undue prejudice. See VirtualAgility Inc. v.
            7 Salesforce.com, Inc., 759 F.3d 1307, 1318 (Fed. Cir. 2014) (“A stay will not diminish
            8 the monetary damages to which [the patentee] will be entitled if it succeeds in its
            9 infringement suit—it only delays realization of those damages. . . .”).6
           10            B.    Google’s Proposed Amendments Are Not Made In Bad Faith
           11           Google does not bring this Motion for Leave in bad faith or with dilatory
           12 motives. “‘Bad faith’ has been interpreted to refer to the use of impermissible tactics,
           13 such as ‘seeking to add a defendant merely to destroy diversity jurisdiction.’” Fitness
           14 Anywhere, Inc. v. Go Fit, LLC, No. CV 09-03828 SJO (RNBx), 2009 WL 10675721,
           15 at *2 (C.D. Cal. Oct. 21, 2009) (finding no bad faith and granting defendants’ motion
           16 to amend pleadings to add three proposed counterclaims prior to “the deadline the
           17 Court imposed to amend pleadings”) (citation omitted). Similar to the defendants in
           18 Fitness Anywhere, Google only seeks to amend the Counterclaims to add plausible
           19 and relevant infringement claims and does not intend to amend solely to destroy
           20 diversity jurisdiction. Nor does Google have any past “record” that suggests “the use
           21 of any such impermissible tactics” in this action that would demonstrate bad faith. Id.
           22 (finding no bad faith as “the record does not suggest the use of any such impermissible
           23 tactics by Defendants”).
           24
           25
           26   6
                          See also Regents of Univ. of Mich. v. Novartis Pharms. Corp., No. 22-cv-04913-
                       AMO, 2023 WL 6795971, at *2 (N.D. Cal. Oct. 12, 2023); Sorensen v. Lexar Media,
                27
                       Inc., No. C 08-00095 JW, 2009 WL 10695750, at *2 (N.D. Cal. Feb. 25, 2009).
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           1          C.     Google’s Proposed Amendments Are Not Futile
           2         Google’s proposed patent infringement counterclaims would not be futile. An
           3 amendment is “futile” only if it would clearly be subject to dismissal. See Miller v.
           4 Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988) (“a proposed amendment is
           5 futile only if no set of facts can be proved under the amendment to the pleadings that
           6 would constitute a valid and sufficient claim or defense.”). As such, a proposed
           7 amended pleading adding new claims is only “futile” where “it appears beyond a
           8 doubt” that the claims sought to be added “would be dismissed for failure to state a
           9 claim.” Fitness Anywhere, 2009 WL 10675721, at *3 (finding that defendants’
          10 proposed counterclaims were not futile because they “state[d] sufficient facts to
          11 support claims for trademark cancellation, declaratory judgment, and unfair
          12 competition”). Here, Google’s proposed counterclaims are far from futile – as set
          13 forth in the proposed amended pleading, as well as Google’s Disclosure of Asserted
          14 Claims and Infringement Contentions, the evidence of Sonos’s infringement is robust.
          15         Moreover, since Google’s proposed amended counterclaims are brought on or
          16 before the May 5, 2025 deadline to amend, the “legal sufficiency of the counterclaims
          17 is more appropriately addressed after amendment through a motion to dismiss.” Id.
          18 (ruling that challenges to the legal sufficiency of a proposed amendment are more
          19 properly addressed after leave to amend is granted, because the amendments are
          20 brought before the Court-ordered deadline to amend).
          21         D.     Google’s Proposed Amendments Do Not Constitute Undue Delay
          22         Google did not unduly delay in seeking leave to amend its answer and
          23 counterclaims. Although the ’790 patent issued in 2016, the ’608 patent did not issue
          24 until October 29, 2024. Moreover, Sonos did not add the ’883 patent – the Sonos
          25 Setup Patent that directly accuses Google’s “Cast-enabled media players” (i.e., the
          26 products that practice the Google Setup Patents) – until November 26, 2024, when
          27 Sonos filed the Second Amended Complaint. See Dkt. 68. Accordingly, the modest
                28 delay between the December 23, 2024 filing of Google’s Answer (Dkt. 69) and
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                  1 Google’s Motion for Leave is not unreasonable or undue under the circumstances,
                  2 because the fact that a party could have amended a complaint earlier “does not by
                  3 itself constitute an adequate basis for denying leave to amend.” Howey v. United
                  4 States, 481 F.2d 1187, 1190–91 (9th Cir. 1973) (finding no undue delay even though
                  5 five years had passed since the complaint was filed and the movant “gave no reason
                  6 for its lengthy delay,” because “[r]efusing, solely because of delay, to permit an
                  7 amendment to a pleading in order to state a potentially valid claim would hinder [the]
                  8 purpose [to vindicate meritorious claims] while not promoting any other sound
                  9 judicial policy.”).
                10            By way of comparison, Sonos waited years to amend its pleadings to add
                11 patents that could have been asserted in its initial pleading. For example, while U.S.
                12 Patent No. 7,571,014 issued in August 2009, U.S. Patent No. 10,031,715 issued in
                13 July 2018, and Sonos alleges that Google’s infringement of these patents predates
                14 January 7, 2020, Sonos did not include them in the original January 7, 2020
                15 Complaint. See Dkt. 1. Instead, the Court granted Sonos leave to add these two
                16 patents (among others) in its First Amended Complaint on October 15, 2024 – and
                17 Google did not assert any procedural challenges to those amendments or otherwise
                18 seek to dismiss them. See Dkt. 63 (granting Sonos leave to file an amended complaint
                19 “without prejudice to Defendant’s ability to assert a procedural challenge to this
                20 limited amendment in connection with its response to the amended complaint”); see
                21 also Dkt. 65 at 3 (jointly proposing that the Court fully lift the stay and that Sonos be
                22 granted leave to “file a second amended complaint [on November 26, 2024] that
                23 includes additional patents (if any) that Plaintiff seeks to assert”).
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             1           The Court should similarly grant Google leave to add the two Google Setup
             2 Patents as counterclaims, particularly since Google brings this Motion by the deadline
             3 set forth in the Pretrial Scheduling Order.7
             4            E.     Google Has Not Amended Its Pleadings Prior To The Filing Of
             5                   This Motion For Leave To Amend

             6           To date, Google has not moved to seek amendment to any of its Answers or
             7 Counterclaims, and the present Motion is the first time it seeks leave to amend its
             8 pleadings. This factor therefore favors granting Google’s Motion. Caravan Canopy,
             9 2024 WL 1118994, at *2 (this Court finds that this factor is met unless the movant
           10 has “repeated failure to cure deficiencies by previous amendments”).
           11 V.         CONCLUSION
           12            For the foregoing reasons, all of the factors weigh in favor of allowing Google
           13 to amend its pleadings to assert infringement of the Google Setup Patents. Therefore,
           14 Google respectfully requests that the Court grant its Motion for Leave to file an
           15 Amended Answer and Counterclaims.
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           25             Even if Google’s delay were considered extensive or undue (which it is not), courts
                       will not deny a party leave to amend unless it finds undue prejudice, futility, or bad
                26 faith. Caravan Canopy, 2024 WL 1118994, at *2 (“Where there is a lack of prejudice
                27 to the opposing party and the amended complaint is obviously not frivolous, or made
                       as a dilatory maneuver in bad faith, it is an abuse of discretion to deny such a motion.”
                28 (quotations omitted)).
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                  1 DATED: May 5, 2025                          Respectfully submitted,
                  2
                                                                QUINN EMANUEL URQUHART &
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                  4
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                  1                                CERTIFICATE OF SERVICE
                  2            I, James D. Judah, certify that pursuant to Local Rule 5-3, counsel of record
                  3 who have consented to electronic service are being served on May 5, 2025 with copies
                  4 of the attached document(s) via the Court’s CM/ECF system, which will send
                  5 notification of such filing to counsel of record.
                  6
                         DATED: May 5, 2025                  Respectfully submitted,
                  7
                  8                                          QUINN EMANUEL URQUHART &
                                                             SULLIVAN, LLP
                  9
                10
                11                                           By /s/ James D. Judah

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